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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

Criminal Action No.: 21-cr-00229-RBJ

UNITED STATES OF AMERICA,
       Plaintiff,
v.

1. DAVITA INC.,

2. KENT THIRY,

       Defendants.



                   UNITED STATES’ MOTION FOR ALTERNATIVE
                CRIME VICTIM NOTIFICATION UNDER 18 U.S.C. § 3771



       The United States of America hereby respectfully moves this Court, pursuant to

18 U.S.C. § 3771(d)(2), for authorization to use alternative victim notification

procedures—namely, publication on Department of Justice websites— in lieu of those

procedures prescribed by sections 3771(a), (b) and (c), because the large number of

potential crime victims in this case makes it impracticable to notify them on an

individualized basis. The United States has conferred with counsel for the defendants,

who have indicated the defendants take no position on this motion.

       The Crime Victims’ Rights Act (“CVRA”), codified at 18 U.S.C. § 3771, provides

crime victims with certain rights, including the right to “reasonable, accurate, and timely

notice” of public court proceedings. 18 U.S.C. § 3771(a)(2). The CVRA defines a

crime victim as “a person directly and proximately harmed as a result of the commission
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of a Federal offense . . .”   18 U.S.C. § 3771(e)(2)(A). Importantly, the CVRA

recognizes that for crimes involving multiple victims, the Court has discretion to adopt

procedures to accord victim rights without unduly interfering with the criminal

proceedings. Thus, 18 U.S.C. § 3771(d)(2) provides:

       In a case where the court finds that the number of crime victims makes it
       impracticable to accord all of the crime victims the rights described in
       subsection (a), the court shall fashion a reasonable procedure to give effect
       to this chapter that does not unduly complicate or prolong the proceedings.

18 U.S.C. § 3771(d)(2). The CVRA does not specify the alternative procedures a

Court may fashion other than that they be reasonable to effectuate the CVRA and that

they not unduly complicate or prolong the proceedings. Id.

       The Indictment in this case alleges that DaVita Inc. (“DaVita”) and Kent Thiry

entered into conspiracies with other companies from at least as early as February 2012

and continuing through at least as late as July 2017, and at least as early as April 2017

through at least as late as June 2019.    (Dkt. 1.) The potential victims in this case

include certain employees of DaVita or its co-conspirators during this more than seven-

year period.   The United States thus estimates that there are hundreds of potential

victims of the charged conspiracies, and potential victims may have moved or changed

addresses.

       This number of potential victims makes compliance with the individual notification

requirements outlined in 18 U.S.C. § 3771(a), (b), and (c) impracticable and likely

beyond the resources available to the United States.     Instead, due to the large number

of potential victims in this case, the United States proposes that it post a notice,

accessible to news media press feeds, to the Department of Justice’s website for large
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cases (http://www.justice.gov/largecases). In addition to summarizing the case and

charge, the information on this page will direct actual and potential victims to the

previously referenced Antitrust Division webpage, where such individuals can access

information referenced above concerning victims’ rights, upcoming public court

proceedings and parole proceedings, and the contact information for the Office of the

Victims’ Rights Ombudsman of the Department of Justice.

       Federal courts around the country have approved similar notices in cases

involving numerous victims. See, e.g., Order Establishing Procedure for Crime Victim

Notification Pursuant to 18 U.S.C. § 3771, United States v. Sandoz Inc., 2:20-cr-111-

RBS (E.D. Pa. Mar. 4, 2020), ECF No. 4; Order Establishing Procedure for Crime Victim

Notification Pursuant to 18 U.S.C. § 3771, United States v. Dip Shipping Co., LLC, 1:19-

cr-20587-DPG (S.D. Fla Oct. 1, 2019), ECF No. 5; Order Establishing Procedure for

Crime Victim Notification Under 18 U.S.C. § 3771, United States v. Netbrands Media

Corp., 4:19-cr-065 (S.D. Tex. Feb. 4, 2019), ECF No. 17. A similar motion was granted

in United States v. Surgical Care Affiliates, LLC, et al. (N.D. Tex.), a case filed by the

Antitrust Division against Surgical Care Affiliates, LLC and SCAI Holdings, LLC. See

Order Granting Alternative Victim Notification Under 18 U.S.C. § 3771, United States v.

Surgical Care Affiliates, LLC, et al., 3:21-cr-00011 (N.D. Tex. Feb. 3, 2021) (Dkt. 23).
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                                      CONCLUSION

       Based on the foregoing, the United States requests that the Court grant this

motion for alternative victim notification procedures.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2021, I electronically filed the GOVERNMENT’S

MOTION FOR ALTERNATIVE CRIME VICTIM NOTIFICATION UNDER 18 U.S.C.

§ 3771 with the Clerk of Court using the CM/ECF system which will send

notification of such filing to counsel of record in the above-captioned matter.



                                          /s/ Anthony W. Mariano
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